      Case: 1:91-cr-00132-MWM Doc #: 244 Filed: 12/11/09 Page: 1 of 2 PAGEID #: 484
PROS 12C
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                                                                                       RECEIVED IN lrit UFFICE OF
                                   United States District Court                       CHIEF ,IUDGF SLJSA~I J m.orr
                                                                                                DEC . 3 7.009
                                                       for

                                       Southern District of Ohio                      UNITED STATES DISTRiCT COURT

                      Petition for Warrant for Offender Under Supervision


Name of Offender: Norman McCrary                                                  Case Number: 1:91CR00132

Name of Sentencing Judicial Officer: The Honorable Susan J. Dlotl, Chief United States District Judge

Date of Original Sentence: July 24, 1992

Original Offense: Count 1: Conspiracy to Distribute Cocaine, in violation of Title 21, U.S.C. 846, a Class
A felony and Count 2: Possession of Crack Cocaine, in violation of Title 21 U.S.C. 844, a Class C
felony

Original Sentence: 240 month(s) prison on Count 1 and 60 months on Count 2, followed by 120
month(s) supervised release

Type of Supervision: Supervised Release                         Date Supervision Commenced: July 15, 2009

Assistant U.S. Attorney: William Hunt, Esq                       Defense Attorney: Richard Smith-Monohan

                                      PETITIONING THE COURT
IX]        To issue a warrant: Currently in the Hamilton County Justice Center
II         To issue an Order to Appear and Show Cause
[I         To grant an exception to revocation without a hearing.



      Violation Number      Nature of Noncompliance
 #1                         Standard Condition: You shall not commit another Federal, state, or local crime.
                            On October 31, 2009, a complaint was filed against McCrary for assault in
                            Hamilton County, Ohio (09-CRB-37165). The case has been continued until
                            December 3, 2009.

                            In addition, on November 2, 2009, McCrary was again charged with two counts
                            offelonious assault and charged with a felony (B0907646). The cases have been
                            continued until December 9, 2009.


u.s. Probation Officer Recommendation: On December 22,2008, Mr McCrary was released from prison to
the Talbert House, residential re-entry center, in Cincinnati, Ohio, so that he could transition back into society
as he had been incarcerated since 1992. While there, he had problems adjusting, was often frustrated and
angry. He was terminated unsuccessfully from TDAT (Transitional Drug Abuse Treatment) for missing three
scheduled sessions. As a result, he was terminated from the program and sent back to prison.

On July 15, 2009, McCrary was released to begin his term of supervised release. Since being on supervision,
he has tried to find steady employment He said it is hard for him adjusting to all of the changes in life as he
was incarcerated for so long. This officer talked with him about being referred to counseling to help him with
the adjustments he was facing; however, at the time, he did not want to attend any counseling. Over the next
couple months, he said things were going okay, but he appeared very untrusting of others.
     Case: 1:91-cr-00132-MWM Doc #: 244 Filed: 12/11/09 Page: 2 of 2 PAGEID #: 485
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Re: McCRARY, Norman                                                                                 Page Two

On one occasion, this officer was conducting a home visit and was approached by a neighbor. She stated
she was very fearfui of the defendant stating that he and others in his family were harassing her children and
bullying them. She had called the police, but nothing was being done.

The above pending charges are against, victim, Ruth Stacy. On October 31,2009, she filed a compliant that
he struck her several times with his fist. The other two charges indicate that McCrary attempted serious
physical harm and was in possession of a brick used against Ms. Stacy. McCrary has appeared in Court on
all charges and bond has been set at $400,000.00,10% cash, which he has not been able to pay.

This officer has also met two of McCrary's family members. They indicated that McCrary has changed
dramatically as a result of being in prison for so long. They feel he needs counseling as he is very angry and
unabie to handle life.

Although the cases above are pending, due to the safety of the victim in this case and the community, it is
respectfully recommended that a warrant be issued for McCrary so that he is not released should he make
bond while the cases are pending. This officer will notify the Court of the outcome of the pending cases.

The term of supervision should be
        [XI    Revoked.
        [J     Extended for years, for a total term of years.
        [I     Continued based upon the exception to revocation under 18 USC 3563(e) or 3583(d)
        [I     The conditions of supervision should be modified as follows:


           I declare under penalty of perjury that the foregoing is true and correct.


 Executed on December 2, 2009
                                                                          Approved by


           (UuY~c-it.:-:
                 Darla J. Huffman                                    ~~
                  U.S. Probation Officer                             U~::~sing US. Probation Officer
                                                                          Date:         December 2, 2009




THE COURT ORDERS:

[1         No Action
X-         The Court finds that there is probable cause to believe the defendant has violated the conditions of
           his/her probation/supervised release and orders the Issuance of a Warrant for his/her arrest.
[1         The Issuance of an Order to Appear and Show Cause
[I         The Court finds the defendant can benefit from continued substance abuse treatment and grants an
           exception to revocation. The supervision term of the defendant is continued under all original terms
           and conditions.
[1         Other
